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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JOHN DOE, : CIVIL DIVISION
Plaintiff,
Civil Action No. 2:17-CV-01574
v.

CARNEGIE MELLON UNIVERSITY, : JURY TRIAL DEMANDED

Defendant.

CONSENT MOTION FOR AN EXTENS|ON OF TIME TO SERVE COMPLAINT

Plaintiff John Doe (“John”), by the undersigned, files this Consent Motion for an
Extension of Time to Serve Complaint, stating, as follows:

l. John initiated the instant action on December 4, 2017, by filing a Verified
Complaint, bringing claims against Defendant Carnegie Mellon University (“CMU” or “the
University”), including declaratory relief claims for breach of contract, violations of Title IX,
and Due Process violations. _SE, Docket Entry l.

2. The claims set forth in the Verified Complaint related to, among other things, a
then upcoming disciplinary hearing to be conducted by CMU, Which Was scheduled for
December 6, 2017.

3. The findings and result from the hearing that Was ultimately held on December 6,
2017 Were provided to John on January 8, 2018.

4. On or before January 23, 2018, both John and Jane Doe, the student Whose
complaint gave rise to the disciplinary proceedings against John, appealed the result of the

December 6, 2017 hearing through the University’s internal process.

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5. To date, the University has not made a flnal determination regarding either of the
appeals and, as such, the issues set forth in John’s Verified Complaint remain unsettled and
ongoing.

6. Presently, the deadline for John to serve the Verified Complaint is l\/Iarch 4, 2018,
Which is ninety days after the date of filing.

7. This Court may extend the time for service of a complaint if the plaintiff shows
good cause for doing do. E, Fed.R.Civ.P.4(m).

8. The claims in the Verified Complaint are declaratory in nature and, depending
upon the result of the pending appeals, the pursuit of those claims may no longer be necessary.
Similarly, based on the outcome of the appeals, it could also be necessary to amend the claims in
the Verifled Complaint to include facts and issues that have taken place since the December 6,
2017 hearing and through the present date, as the claims will no longer be declaratory in nature.

9. Thus, at this point in time, John submits it Would not be prudent for him to serve
the Verifled Complaint that Will require a response from CMU to causes of action that Will likely
need to be amended or, alternatively, may no longer be pursued once resolution of the underlying
internal University proceedings is complete

10. Due to the foregoing, and the ongoing nature of the University proceedings and
unresolved issues resulting from the same, there is good cause for an extension of time to serve
the Verified Complaint.

11. l\/Ioreover, Cl\/IU, through counsel, has consented to an extension of time to serve
the Verifled Complaint. S_e§, E-mail Communication from Catherine Ryan, attached hereto as

Exhibit A.

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12. John thus respectfully moves this Court to grant this Motion and to extend the

time for John to serve the Verified Complaint for a period of sixty days.

Dated: February 27, 2018

Respectfully submitted,
LEECH TISHMAN FUSCALDO & LAMPL, LLC

/s/ Timothv J Lvon

Timothy J. Lyon, Esquire

PA ID No. 200439

525 Winiam Penn Place, 28th Floor
Pittsburgh, PA 15219

Counselfor Plaintiff

